       CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 1 of 46




                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA


Christian Labor Association; Kaski Inc.;       )
Nordic Group Inc.; Roen Salvage Co.; Luke Krhin;
                                               )
Shawn Kunnari; and Dylan Smith,                )
                                               )
                     Plaintiffs,               )
                                               )      0:21-cv-00227-DWF-LIB
              v.                               )
                                               )
City of Duluth; City of Cloquet; City of       )
Two Harbors; Western Lake Superior Sanitary    )
District; and Duluth Building and Construction )
Trades Council,                                )
                                               )
                     Defendants.               )
____________________________________________ )




             MEMORANDUM OF LAW IN SUPPORT OF
DEFENDANTS’ JOINT MOTION TO DISMISS THE COMPLAINT PURSUANT
              TO F.R.C.P. 12(b)(1) AND F.R.C.P. 12(b)(6)




                                                   * See list of counsel, next page
        CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 2 of 46




REBECCA ST. GEORGE, CITY                  ANDREW, BRANSKY AND POOLE,
ATTORNEY, and                             P.A.
 s/ Elizabeth A. Sellers                   s/ Timothy W. Andrew
Elizabeth A. Sellers (0395652)            Timothy W. Andrew (227250)
Assistant City Attorney                   302 West Superior Street, Suite 300
411 West First Street, Rm. 440            Duluth MN, 55802
Duluth, MN 55802                          (218) 722-1764
(218) 730-5281                            timandrew@duluthlawfirm.com
esellers@duluthmn.gov
                                          SHERMAN DUNN, P.C.
Attorneys for Defendant City of Duluth     s/ Victoria L. Bor
                                          Victoria L. Bor (D.C. #288852)
GREENE ESPEL PLLP                         Jonathan D. Newman (D.C. #449141)
 s/Monte A. Mills                         Robert D. Kurnick (D.C. #243683)
Monte A. Mills (030458X)                  900 Seventh Street, N.W. Suite 1000
Davida S. McGhee (0400175)                Washington, D.C. 20001
222 S. Ninth Street, Suite 220            (202)785-9300
Minneapolis MN 55402                      bor@shermandunn.com
                                          newman@shermandunn.com
(612) 373-0830
                                          kurnick@shermandunn.com
mmills@greeneespel.com
dwilliams@greeneespel.com                 Attorneys for Defendant Duluth Building
                                          & Construction Trades Council
Attorneys for Defendants City of
Cloquet, City of Two Harbors,
Western Lake Superior Sanitary District
       CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 3 of 46




                                       TABLE OF CONTENTS



I.      INTRODUCTION ............................................................................................. 1

II.     STATEMENT OF FACTS ................................................................................. 1

        A.       Background on PLAs ............................................................................... 1

        B.      The Public Entities and the PLAs ............................................................ 2

                1.        City of Duluth................................................................................. 2

                 2.       City of Cloquet ............................................................................... 4

                 3.       City of Two Harbors....................................................................... 5

                 4.       Western Lake Superior Sanitary District ....................................... 6

         C.     Plaintiffs .................................................................................................... 6

III.    ARGUMENT ...................................................................................................... 7

        A.       The Complaint Must be Dismissed under Rule 12(b)(1)
                 for Lack of Subject Jurisdiction ............................................................... 7

                 1.        Plaintiffs Lack Standing. ............................................................... 8

                           a.        Employee Plaintiffs Lack Standing. .................................... 8

                          b.        Christian Labor Council Lacks Standing. ......................... 14

                          c.        Contractor Plaintiffs Lack Standing.................................. 15

                 2.      Plaintiffs’ Claim that the PLAs Require
                         “Membership” or Payment of Fees are Moot............................... 20

        B.       The Complaint Must be Dismissed under Rule 12(b)(6)
                 for Failure to State any Claims for Which Relief can be
                 Granted. ................................................................................................. 23

                 1.       Plaintiffs Have Failed to State a Claim for Violation
                          of the Employees’ First and Fourteenth Amendment
                          Rights. ......................................................................................... 23
           CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 4 of 46




                        2.      Plaintiffs Have Failed to State a Claim for
                                Violation of the Antitrust Laws. .................................................... 25

                                a. The Complaint does not State a Violation of
                                   the Sherman Act. ...................................................................... 25

                                b. Plaintiffs do not Have Antitrust Standing. ............................. 28

                                     1)     Individual Employee Plaintiffs Lack
                                            Antitrust Standing. ......................................................... 29

                                     2)     CLA Lacks Antitrust Standing ....................................... 31

                                     3)     Contractor Plaintiffs Lacks Antitrust
                                            Standing. ........................................................................ 32

                                c. The PLAs are Shielded from Antitrust Scrutiny
                                   by the Nonstatutory Labor Exemption. ................................... 33

CONCLUSION ................................................................................................................. 37




                                                              ii
           CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 5 of 46




                                          TABLE OF AUTHORITIES

                                                                                                                    Page(s)

Cases

Adarand Constructors v. Pena,
   515 U.S. 200 (1995) ..................................................................................................... 17

Ass’d Builders & Contractors of Western Pa. v. Community College of
   Allegheny Co.,
   Docket No. 2:20-cv-649 (W.D. Pa.) ............................................................................ 22

Ass’d Builders & Contractors of Western Pa. v. County of Westmoreland,
   Docket No. 2:19-cv-1213 (W.D. Pa.) .......................................................................... 22

Ass’d Builders & Contractors of Western Pa. v. Plum Borough,
   Docket No. 2:20-cv-01933 (W.D. Pa.) ........................................................................ 22

Ass’d Builders v. City of Seward,
   966 F.2d 492 (9th Cir. 1992) ....................................................................................... 36

Ass’d Gen. Contractors of Cal. v. Carpenters,
   459 U.S. 519 (1983) .............................................................................................. passim

Bathke v. Casey’s Gen. Stores, Inc.,
   64 F.3d 340 (8th Cir. 1995) ......................................................................................... 27

Bierman v. Dayton,
   900 F.3d 570 (8th Cir. 2018) ................................................................................. 12, 24

Bldg. & Constr. Trades Council v. Ass’d Builders and Contractors,
   507 U.S. 218 (1993) .............................................................................................. passim

Bldg. Indus. Elec. Contractors Ass’n v. City of New York,
   678 F.3d 184 (2nd Cir. 2012)....................................................................................... 35

Blue Shield of Va. v. McCready,
   457 U.S. 465, 476-77 (1982). ..................................................................................... 29

Breininger v. Sheet Metal Workers Local 6,
   493 U.S. 67 (1987) ....................................................................................................... 24



                                                              iii
            CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 6 of 46




Brooke Grp. Ltd. v. Brown & Williamson Tobacco Corp.,
   509 U.S. 209 (1993) ............................................................................................... 27, 36

Brown v. Pro Football Inc.,
   518 U.S. 231 (1996) ......................................................................................... 33, 34, 36

Brown Shoe Co. v. United States,
   370 U.S. 294, 320 (1962) ............................................................................................ 27

Brunswick Corp. v. Pueblo Bowl-O-Mat,
   429 U.S. 477, 488 (1977) ...................................................................................... 26, 29

Carney v. Adams,
   141 S.Ct. 493 (2020) .............................................................................................. 18, 19

Communications Workers v. Beck,
  487 U.S. 735 (1988) ............................................................................................... 10, 11

Connell Constr. Co. v. Plumbers & Steamfitters Local 100,
  421 U.S. 616 (1975) ............................................................................................... 33, 36

Double D Spotting Serv. v. Supervalu, Inc.,
  136 F.3d 554 (8th Cir. 1998) ................................................................................. 27, 28

Ehredt Underground, Inc. v. Commonwealth Edison Co.,
   90 F.3d 238 (7th Cir. 1996) .................................................................................. passim

Fleck v. Wetch,
   937 F.3d 1112 (8th Cir. 2019) ..................................................................................... 12

Gratz v. Bollinger,
   539 U.S. 224 (2003) ..................................................................................................... 17

Hoekman v. Educ. Minn.,
  No. 18-cv-01686, 2021 WL 533683 (D. Minn. Feb. 12, 2021)
   (Nelson, J.) ................................................................................................................... 22

Hunt v. Washington State Apple Advert. Comm’n,
  432 U.S. 333 (1977) ............................................................................................... 13, 14

Insulate SB, Inc. v. Advanced Finishing Sys., Inc.,
   797 F.3d 538 (8th Cir. 2015) ....................................................................................... 29

Janus v. American Federation of State, County and Municipal
   Employees, Council 31,
   138 S. Ct. 2448, 2485 (2018) ..................................................................... 10-11, 23, 24
                                                                 iv
           CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 7 of 46




Johnson v. Rancho Santiago Cmty. Coll. Dist.,
   623 F.3d 1011 (9th Cir. 2010) ..................................................................................... 35

Libertarian Party of Ark. v. Martin,
   876 F.3d 948 (8th Cir. 2017) ................................................................................. 20, 21

Little Rock Cardiology Clinic Pa. v. Baptist Health,
    591 F.3d 591 (8th Cir. 2009) ....................................................................................... 28

Loescher v. Minn. Teamsters Pub. & L. Enf't Employees' Union, Loc. No.
   320,
   441 F. Supp. 3d 762 (D. Minn. 2020) (Wright, J.) ................................................ 15, 22

Lujan v. Defs. of Wildlife,
   504 U.S. 555 (1992) ..................................................................................... 7, 11, 13, 18

Marquez v. Screen Actors Guild,
  525 U.S. 33 (1998) ............................................................................................. 9, 10, 14

Mausolf v. Babbitt,
  85 F.3d 1295 (8th Cir. 1996) ................................................................................... 7, 13

McCarthy v. Ozark Sch. Dist.,
  359 F.3d 1029 (8th Cir. 2004) ................................................................................. 7, 21

Meat Cutters Local 576 v. Wetterau Foods, Inc.,
  597 F.2d 133 (8th Cir. 1979) ....................................................................................... 34

Minn. State Bd. for Cmty Colleges v. Knight,
   465 U.S. 271 (1984) ..................................................................................................... 24

Moore v. Thurston,
  928 F.3d 753 (8th Cir. 2019) ....................................................................................... 22

NicSand, Inc. v. 3M Co.,
   507 F.3d 442 (6th Cir. 2007) ....................................................................................... 29

Northeastern Florida Chapter, AGC v. City of Jacksonville,
   508 U.S. 656 (1993) ......................................................................................... 15, 16, 17

Osborn v. United States,
   918 F.2d 724 (8th Cir.1990) .......................................................................................... 7

Peterson v. Gen. Motors Corp.,
   975 F.2d 518 (8th Cir. 1992) ................................................................................. 29, 30


                                                              v
           CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 8 of 46




Phelps-Roper v. City of Manchester,
   697 F.3d 678 (8th Cir. 2012) (en banc) ........................................................... 20, 21, 22

Prowse v. Payne,
   984 F.3d 700 (8th Cir. 2021) ....................................................................................... 20

Quinn v. Millsap,
   491 U.S. 95 (1989) ....................................................................................................... 17

Razorback Ready Mix Concrete Co. v. Weaver,
   761 F.2d 484 (8th Cir. 1985) ................................................................................. 26, 28

Road-Con v. City of Philadelphia,
   Docket No. 2:19-cv-1667 (E.D. Pa.)............................................................................ 22

Roland Mach. Co. v. Dresser Indus., Inc.,
   749 F.2d 380 (7th Cir. 1984) ....................................................................................... 27

S.D. Collectibles, Inc. v. Plough, Inc.,
   952 F.2d 211 (8th Cir. 1991) ....................................................................................... 30

Sierra Club v. Robertson,
   28 F.3d 753 (8th Cir. 1994) ......................................................................... 8, 12, 13, 16

Teague v. Cooper,
   720 F.3d 973 (8th Cir. 2013) ................................................................................. 20, 21

The Branson Label, Inc. v. City of Branson,
   793 F.3d 910 (8th Cir. 2015) ......................................................................................... 8

Vorchheimer v. Philadelphia Owners Ass’n,
   903 F.3d 100 (3d Cir. 2018)......................................................................................... 14

Warth v. Seldin,
  422 U.S. 490 (1975) ......................................................................................... 15, 16, 17

Federal Statutes and Constitutional Provisions

Clayton Act, 15 U.S.C. § 15(a) ......................................................................................... 28

National Labor Relations Act

    29 U.S.C. § 151 ............................................................................................................ 33

    29 U.S.C. § 158(a)(3) ..................................................................................................... 9


                                                               vi
           CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 9 of 46




    29 U.S.C. § 158(f) ...................................................................................... 1, 2, 9, 24, 30

    29 U.S.C. § 158(e) ............................................................................................... 1, 2, 36

Sherman Act .............................................................................................................. passim

    15 U.S.C. § 1 ................................................................................................................ 25

    15 U.S.C. § 2 .......................................................................................................... 25, 28

U.S. Constitution

    First Amendment...................................................................................................... 1, 24

    Fourteenth Amendment............................................................................................ 8, 23

State and Local Statutes

Cloquet, Minn. Code § 9.2.01 (2021) .................................................................................. 4

Duluth, Minn. Code § 2-29(a) (2021) ............................................................................. 2, 3

Minn. Stat. § 458D.03, subd. 1 (2021) ................................................................................ 6

Two Harbors, Minn. Code § 2.77 (2021) ............................................................................ 5

Other Authorities

Fed. R. Civ. P. Rule 12(b)(1)..................................................................................... 1, 7, 36

Fed. R. Civ. P. Rule 12(b)(6)................................................................................... 1, 23, 36

U.S. Gen. Accounting Office, Project Labor Agreements: The Extent of the
   Use and Related Information, Pub. No. GAO/GGD-98082 (1998) .............................. 2




                                                               vii
        CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 10 of 46




                                  I.     INTRODUCTION

       Plaintiffs’ Complaint challenges project labor agreements (“PLAs”) of four public

entities: the cities of Duluth, Cloquet and Two Harbors and the Western Lake Superior

Sanitary District (collectively, “the Public Entities”). The PLAs were negotiated by, and

are between, the Public Entities and the Duluth Building and Construction Trades

Council (“the Building Trades”). Plaintiffs claim the PLAs violate the First and

Fourteenth Amendments and antitrust laws. Defendants move to dismiss under Rule

12(b)(1), for lack of subject matter jurisdiction because Plaintiffs have failed to establish

this Court’s jurisdiction over their claims: They lack standing, and their claims are moot.

Alternatively, Defendants move to dismiss under Rule 12(b)(6), for failure to state any

claims upon which relief may be granted: Plaintiffs have not alleged viable claims under

either the Constitution or the Sherman Act.

                            II.        STATEMENT OF FACTS

A.     Background on PLAs.

       PLAs are pre-hire collective bargaining agreements that establish the terms and

conditions of employment for an entire construction project. PLAs are common in the

construction industry, where the short-term nature of employment impedes post-hire

collective bargaining and contractors need predictable costs and a steady supply of skilled

labor. In the private sector, these agreements are specifically authorized through Sections

8(e) and (f) of the National Labor Relations Act (“NLRA”), 29 U.S.C. § 158(e) and (f).

Bldg. & Constr. Trades Council v. Ass’d Builders and Contractors (“Boston Harbor”),
          CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 11 of 46




507 U.S. 218, 230 (1993). 1 Governmental entities have also long used PLAs to facilitate

their construction projects. 2 In Boston Harbor, the Supreme Court held that when a

public owner, acting in its proprietary capacity, chooses to use a PLA on its public works

projects, it is “condition[ing] its purchasing upon the very sort of labor agreement that

Congress explicitly authorized and expected frequently to find,” and thus, is

“exemplif[ying]” “the workings of the market forces that Congress expected to find.” Id.

at 233.

B.        The Public Entities and the PLAs.

          1.    City of Duluth

          When Duluth has a “direct interest in [the] financial performance” of a

construction project, it has “a compelling interest in ensuring [the project] proceed[s] in a

timely, cost-effective manner with the highest degree of quality and with minimal delays

and disruptions.” Duluth, Minn. Code § 2-29(a) (2021). To serve that interest, Duluth’s

policy is to require a PLA, “in substantially the form adopted by resolution of the council

from time to time and kept by the city clerk as a public document, . . . to be used on each



1
  Section 8(f) permits construction employers and unions to enter into collective
bargaining agreements before the employer hires its workforce. The construction industry
proviso to Section 8(e) permits parties to a prehire agreement “to require employers not
to hire other contractors to perform work on that particular project unless they agree to
become bound by the terms of that labor agreement.” Boston Harbor, 507 U.S. at 223.
2
 See, e.g., U.S. Gen. Accounting Office, Project Labor Agreements: The Extent of the
Use and Related Information at 4, Pub. No. GAO/GGD-98082 (1998) (tracing the use of
PLAs on federal and other publicly funded projects back to the construction of the Grand
Coulee Dam in Washington State in 1938 and the Shasta Dam in California in 1940),
available at https://www.gao.gov/assets/ggd-98-82.pdf.
                                               2
       CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 12 of 46




covered project.” Id. § 2-29(b). The agreement is to “be made binding on all contractors

and subcontractors working on the project[, but n]o contractor shall be required to be or

become a party to a collective bargaining agreement on any other construction project in

order to qualify to work under [the PLA.]” Id.

       Duluth has used various form PLAs. See Complaint (“Compl.”) Ex. 1 (ECF No. 1-

1) and Ex. 4 (ECF No. 1-4). Each of these agreements makes clear that any contractor

can bid for and be awarded work on a covered project, regardless whether it otherwise

has an agreement with a signatory union, as long as the contractor is willing to “become a

party to and comply with” the PLA. Compl. Ex. 1, Art. II § 5; Compl. Ex. 4, Art. II § 5.

Each form agreement has required contractors to recognize the signatory unions as the

exclusive collective bargaining agent of their employees on the project, and to secure

their employees through the unions’ referral systems, which the unions commit to operate

“in a non-discriminatory manner and in full compliance with Federal and State laws.”

Complaint (ECF No. 1) ¶¶ 20, 21, 22; Compl. Ex. 1, Art. III § 1 and Art. IV; Compl. Ex.

4, Art. III § 1 and Art. IV. One of Duluth’s form agreements contained a union security

clause, stating that employees must be “members of the Union in good standing” while

working on the project. Compl. Ex. 1, Art. III § 2. These are all provisions commonly

found in PLAs. Compl. ¶ 16; see also Boston Harbor, 507 U.S. at 221-22 (describing the

terms of the Massachusetts Water Resources Authority’s PLA).

       On March 22, 2021, the City Council met and, by resolution, amended the PLA to

be used on the city’s covered projects. Declaration of Chelsea J. Helmer (“Helmer

Decl.”) ¶ 4 and Ex. A (Resolution 21-0196R and amended Duluth Form PLA). The

                                             3
        CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 13 of 46




resolution, supported by the Building Trades, passed by a unanimous vote. Id.;

Declaration of Craig Olson (“Olson Decl.”) ¶ 6 and Ex. 3 (Letter from Olson to Duluth

Mayor and City Council Members). As amended, the PLA specifically provides that,

“[n]othing in this Agreement requires employees to join a union or pay dues or fees to a

union as a condition of working on the covered project.” Helmer Decl., Ex. A (Duluth

Form PLA, Art. II § 9). In addition, a provision in one of Duluth’s form agreements

which previously required employees to “become” and “remain members of the Unions

in good standing during the term of this Agreement” has been stricken in its entirety. See

id. at 4 (former Art. III § 2).

       2.      City of Cloquet

       Cloquet similarly recognizes that using PLAs serves its interests when conducting

construction projects. Cloquet, Minn. Code § 9.2.01 (2021). It accordingly requires a

PLA on any project “with a total City investment of $175,000 or more.” Id. § 9.2.02. The

city’s code specifies that the PLA must be binding on all contractors and subcontractors

operating on a covered project, but only on that project, and that no contractor or

subcontractor will be required to “be or become” a party to any other bargaining

agreement as a condition of working on a covered project. Id. Cloquet’s form PLA

permits any contractor willing to accept its terms to bid for and be awarded work on a

covered project. Compl. Ex. 1-2, Art. II § 5. It requires contractors to recognize the

signatory unions as their employees’ exclusive collective bargaining agents while

working on the project and to secure their employees through the unions’ referral

systems. Id., Art. III § 1, Art. IV.

                                             4
       CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 14 of 46




      On March 16, 2021, and by unanimous vote, the Cloquet City Council adopted a

resolution amending the form PLA to “clarify that the agreement does not require

employees to join a union or pay dues or fees” while working on a covered project.

Declaration of Tim Peterson (“Peterson Decl.”) ¶¶ 3,4 and Ex. A (Resolution No. 21-16

and amended Cloquet Form PLA) at 3, 4. The Building Trades supported this

amendment. Olson Decl. ¶ 6 and Ex. 1 (Letter from Olson to Peterson).

      3.     City of Two Harbors

      Two Harbors’ code requires the use of a PLA “on each City construction project,

with a total estimated cost of $150,000.00 or more.” Two Harbors, Minn. Code § 2.77

(2021). The code specifies that “[n]o contractor shall be required to be or become a party

to a collective bargaining agreement in order to qualify to work under a [PLA] for a

particular City project.” Id. The Two Harbors PLA requires all contractors operating on

a covered project to abide by the agreement’s terms, to recognize the signatory unions as

their employees’ exclusive bargaining representative, and to hire their work crews

through the unions’ referral systems. Compl. Ex. 3 (ECF No. 1-3), Art. III § 1 and Art.

IV.

      A prior version of Two Harbors’ form PLA required employees who were already

union members to remain members while working on a covered project. Id., Art. III § 2.

On March 22, 2021, the Two Harbors City Council adopted a resolution amending its

“form PLA to reflect that the City does not require [any] workers to join a union or pay

union fees as a condition of working on a City project.” Declaration of Dan Walker

(“Walker Decl.”), Ex. A (Resolution 3-86-21). The form PLA specifically states,

                                            5
       CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 15 of 46




“[n]othing in this Agreement requires employees to join a union or pay dues or fees to a

union as a condition of working on the covered project,” and eliminates the prior

provision requiring union members to maintain their membership while working on the

covered project. See id., Exhibit A at 3, 4. The resolution further directs Two Harbors to

“use the form [PLA], as amended by this Resolution, for any project where the City

enters into a [PLA].” Id. The Building Trades supported this amendment. Olson Decl.

¶ 6 and Ex. 2 (Letter from Olson to Walker).

       4.     Western Lake Superior Sanitary District

       The Western Lake Superior Sanitary District (“the Sanitary District”) is a “public

corporation and political subdivision of the state” of Minnesota, established by statute.

Minn. Stat. § 458D.03, subd. 1 (2021). The Sanitary District’s PLA contains no

provisions requiring employees to join or financially support the Building Trades’

affiliated unions. Declaration of Marianne Bohren, Ex. A. Like the current versions of

the PLAs adopted by Duluth, Cloquet and Two Harbors, the Sanitary District’s PLA

expressly states “[n]othing in this Agreement requires employees to join a union or pay

dues or fees to a union as a condition of working on the covered project.” Id.

C.     Plaintiffs

       Luke Krhin and Dylan Smith (collectively, “Employee Plaintiffs”) are

construction workers. Compl. ¶¶ 7, 9. 3 Krhin is a member of the Christian Labor

Association (“CLA”), employed by Nordic Group. Id. ¶ 7. Smith is a non-union


3
 Shawn Kunnari, named as a Plaintiff, id. ¶ 8, has withdrawn from this lawsuit. ECF No.
19 (Notice of Dismissal of Shawn Kunnari).
                                             6
       CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 16 of 46




employee of Roen Salvage. Id. ¶ 9. CLA is a labor organization that is not affiliated

with the Building Trades and is not a party to any of the Public Entities’ PLAs. Id. ¶ 3,

25.

       Kaski Inc., Nordic Group Inc. and Roen Salvage Co. (collectively, “Contractor

Plaintiffs”) are construction contractors. Kaski and Nordic Group employ workers

affiliated with the CLA, id. ¶¶ 4, 5, and Roen Salvage “is a non-union contractor,” id. ¶ 6.

       Plaintiffs object to the terms of the Public Entities’ PLAs, yet none of the

Contractor Plaintiffs allege they have worked on or bid for work on projects covered by

any of the Public Entities’ PLAs. Compl. ¶¶ 32, 34. Nor do any of the Employee

Plaintiffs allege they sought or obtained work on any covered projects, id. ¶¶ 35, 36, or

paid or were required to pay dues or fees to any union affiliated with the Building Trades,

id.

                                   III.   ARGUMENT

A.     The Complaint Must be Dismissed under Rule 12(b)(1) for Lack of Subject
       Matter Jurisdiction.

       “Those who do not possess Art. III standing may not litigate as suitors in the

courts of the United States.” Mausolf v. Babbitt, 85 F.3d 1295, 1300 (8th Cir. 1996),

quoting Valley Forge Christian Coll. v. Americans United for Separation of Church and

State, Inc., 454 U.S. 465, 475-76 (1982). The “requisite personal interest that must exist

at the commencement of the litigation (standing) must continue throughout its existence

(mootness).” McCarthy v. Ozark Sch. Dist., 359 F.3d 1029, 1035 (8th Cir. 2004).




                                             7
        CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 17 of 46




       Plaintiffs bear the burden of establishing the Court’s jurisdiction. Lujan v. Defs. of

Wildlife, 504 U.S. 555, 561 (1992). Because Defendants’ Rule 12(b)(1) motion brings a

“factual attack” challenging the factual allegations on which subject matter jurisdiction is

based, “the court considers matters outside the pleadings and the non-moving party does

not have the benefit of 12(b)(6) safeguards.” Osborn v. United States, 918 F.2d 724,

729 n.6 (8th Cir. 1990). That is, in a factual attack, the nonmoving party does not “enjoy

the benefit of the allegations in its pleading being accepted as true.” The Branson Label,

Inc. v. City of Branson, 793 F.3d 910 (8th Cir. 2015).

       1.     Plaintiffs Lack Standing.

       To establish standing, Plaintiffs must show that they “have (1) suffered an injury

in fact, (2) that is fairly traceable to the challenged conduct of the defendant, and (3) that

is likely to be redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 136 S.

Ct. 1540, 1547 (2016) (quoting Warth v. Seldin, 422 U.S. 490, 519 (1975); Lujan, 504

U.S. at 560-61). The “injury-in-fact component . . . requires a showing of ‘an invasion of

a legally-protected interest which is (a) concrete and particularized and (b) actual and

imminent, not conjectural or hypothetical.’” Sierra Club v. Robertson, 28 F.3d 753, 758

(8th Cir. 1994) (quoting Lujan, 504 U.S. at 560). “Assertions of potential harm do not

satisfy the injury-in-fact test.” Id. Instead, Plaintiffs must show “the injury is actual or

certain to ensue.” Id.

              a.      Employee Plaintiffs Lack Standing.

       Plaintiff Krhin is a CLA member, employed by Nordic Group, and Plaintiff Smith

is a non-union employee of Roen Salvage. Compl. ¶¶ 7, 9. They allege that the Public

                                               8
        CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 18 of 46




Entities’ PLAs violate their First and Fourteenth Amendment rights by requiring them to

join, associate with and/or financially support unions as a condition of working on

covered projects. Id. ¶¶ 37, 38, 41. They further allege they have standing to assert these

constitutional claims because the PLAs “prevent them from working on the defendants’

public works projects because they have exercised their constitutional and statutory right

to decline membership in a Council-affiliated union,” and “compel [them] to obtain

employment through the Council-affiliated union’s job-referral systems if they want to

perform any work in the defendants’ public works projects[, . . . ] injuries caused by the

defendants’ enforcement of the disputed [PLAs].” Compl. ¶ 35. To support these

allegations, the Employee Plaintiffs point to templates of PLAs between the Building

Trades and the three cities, which they allege include “union security” language requiring

employees “to ‘become’ and ‘remain members’ of a Council-affiliated union” while

working on a covered project and require contractors operating on covered projects to

obtain their employees through the Unions’ referral systems. See Compl. ¶¶ 22, 23.

       Assessing whether Plaintiffs have carried their burden of establishing this Court’s

jurisdiction rests on understanding the nature of their claims. Plaintiffs assert that, to

work on any covered project, they would be required to join one of the signatory unions,

a condition that precludes workers who choose to be non-union or to join a different

union from working on a covered project. Compl. ¶ 23, 24. This simply is not true for

two reasons.

       First, as the Supreme Court has made clear, contractual language requiring

“membership” as a condition of employment is a term of art, which incorporates

                                               9
        CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 19 of 46




limitations that safeguard employees’ rights. Marquez v. Screen Actors Guild, 525 U.S.

33, 46 (1998). NLRA Section 8(a)(3) states it is not an unfair labor practice for “an

employer [to make] an agreement with a labor organization . . . to require as a condition

of employment membership therein.” 29 U.S.C. § 158(a)(3) (emphasis added). Section

8(f) explicitly applies the same rule in the construction industry. Id. § 158(f). Stated in

the affirmative, these provisions “permit[] unions and employers to negotiate an

agreement that requires union ‘membership’ as a condition of employment for all

employees.” Marquez, 525 U.S. at 46.

       Despite the statutory language, however, the Court has held that, “an employee

can satisfy the membership condition merely by paying to the union an amount equal to

the union's initiation fees and dues. . . . In other words, the membership that may be

required ‘as a condition of employment is whittled down to its financial core.’” Id. at 37

(quoting NLRB v. Gen. Motors Corp., 373 U.S. 734, 742 (1963), and referring to Pattern

Makers v. NLRB, 473 U.S. 95, 106, n. 16, 108 (1985)). The Court has also held that the

“financial core” for nonmembers who object is limited to the amount the union uses for

collective bargaining, contract administration and grievance adjustment.

Communications Workers v. Beck, 487 U.S. 735, 745, 762-63 (1988). When faced with

the question whether a union acts unlawfully by agreeing to contract language

conditioning employment on membership in good standing, “without explaining, in the

agreement, this Court’s interpretation of that language,” the Court held in Marquez that it

did not. Instead, the Court explained:



                                             10
         CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 20 of 46




         by tracking the statutory language, the clause incorporates all of the
         refinements that have become associated with that language. When we
         interpreted § 8(a)(3) in General Motors and Beck, we held that the section,
         fairly read, included the rights that we found. To the extent that these
         interpretations are not obvious, the relevant provisions of § 8(a)(3) have
         become terms of art; the words and phrasing of the subsection now
         encompass the rights that we announced in General Motors and Beck.

Marquez, 525 U.S. at 46. Thus, as the Eighth Circuit explained in Bloom v. NLRB, union

security provisions requiring “membership in good standing” as a condition of

employment incorporate the Court’s “limiting gloss” from General Motors and Beck:

They do not require employees to become union members. 209 F.3d 1060, 1063 (8th Cir.

2000).

         Second, the Employee Plaintiffs’ claims are insufficient to establish jurisdiction

because none of the Public Entities’ PLAs currently have union security clauses. That is,

while Duluth and Cloquet previously had templates that included union security

language, all the PLAs now specifically state “[n]othing in this Agreement requires

employees to join a union or pay dues or fees to a union as a condition of working on the

covered project.” See supra at 2-6.

         In short, because none of the PLAs has ever required anyone working on a

covered project to join one of the signatory unions, the Employee Plaintiffs have failed

even to allege, much less establish, the “invasion of . . . legally-protected interest[s]

which are (a) concrete and particularized and (b) actual and imminent, not conjectural or

hypothetical.” Lujan, 504 U.S. at 560.

         They fare no better with respect to their claims regarding payment of fees under

the prior form PLAs. In Janus v. American Federation of State, County and Municipal

                                              11
        CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 21 of 46




Employees, Council 31, on which Plaintiffs rely (Compl. ¶ 38), the Supreme Court held

that public employers and unions may not “extract agency fees from nonconsenting

employees.” 138 S. Ct. 2448, 2485 (2018) (emphasis added). 4 See also Fleck v. Wetch,

937 F.3d 1112, 1114 (8th Cir. 2019) (“Janus held that no fee or payment to the union

‘may be deducted from a nonmember’s wages . . . unless the employee affirmatively

consents to pay . . . . before any money is taken.’”). To allege a “concrete and

particularized” injury from operation of any of the Public Entities’ PLAs, the Employee

Plaintiffs would have to allege that they worked on a covered project and were compelled

to pay fees without their consent. Yet, none of the Employee Plaintiffs has identified any

project on which any of the Public Entities used its PLA; any of the Employee Plaintiffs

secured work; and either the Public Entity or any signatory union attempted either to

compel the Employee to pay a fee or to have them removed from the job for their failure

to do so.

       Finally, with respect to their complaints about the referral system, Plaintiffs have

failed to identify any projects on which any of the Public Entities used its PLA and on

which any of the Employee Plaintiffs tried to find work but were diverted to the union’s

hiring halls. Nor do they identify any projects on which any of the Public Entities is

imminently planning to use its PLA and on which the Employee Plaintiffs plan to attempt

to find work but will be required to use the hiring halls.



4
 Solely for purposes of this Motion, Defendants will assume, arguendo, but do not
concede, that constitutional principles apply to private employees working under public
sector PLAs.
                                             12
        CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 22 of 46




       The Employee Plaintiffs here stand in direct contrast to the plaintiffs in Bierman v.

Dayton, individuals who were employed as home healthcare workers and represented by

a union, who alleged they were harmed by the state’s recognition of a union as their

exclusive collective bargaining representative. 900 F.3d 570, 573 (8th Cir. 2018) (the

alleged amplification of the union’s voice and corresponding diminution of that of

represented employees who disagree was sufficient “injury in fact” to satisfy Article III

standing). Instead, the Employee Plaintiffs are like the plaintiffs in Sierra Club v.

Robertson, who challenged a forest management plan for timber sales as per se unlawful,

but without pointing to its application to any past or impending timber sales. 28 F.3d at

259. The Eighth Circuit found that “an environmental injury, based on the Plan alone,

without reference to a particular site-specific action,” rather than establishing injury that

is “actual or certain to ensue,” would “‘take[] us into the area of speculation and

conjecture.’” Id. at 258 (quoting O’Shea v. Littleton, 414 U.S. 488, 497 (1974)).

       Like the plaintiffs in Sierra Club, the Employee Plaintiffs here refer to no “site-

specific action.” Instead, they simply point to provisions in the PLAs to which they

object and claim that the mere maintenance of these provisions “precludes [the

Employees] from working on any public-works project subject to the PLA.” Compl. ¶

23. Yet, “[t]he Supreme Court has often emphasized that a lawsuit in federal court is not

a forum for the airing of interested onlookers’ concerns, nor an arena for public-policy

debates.” Mausolf, 85 F.3d at 1301. Having completely failed to establish Defendants

either have caused them to suffer, or are imminently going to cause them to suffer, any

“concrete and particularized” “invasion of . . . legally-protected interest[s],” Lujan, 504

                                              13
        CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 23 of 46




U.S. at 560, the Employee Plaintiffs have failed to establish standing to pursue their

constitutional claims.

              b.     Christian Labor Association Lacks Standing.

       The CLA claims it has associational standing to seek relief against enforcement of

the Public Entities’ PLAs. Compl. ¶ 27. Fundamental to establishing associational

standing is showing that the entity’s members “would otherwise have standing to sue in

their own right.” Hunt v. Washington State Apple Advert. Comm’n, 432 U.S. 333, 343

(1977) (entity asserting associational standing must show “(a) its members would

otherwise have standing to sue in their own right; (b) the interests it seeks to protect are

germane to the organization’s purpose; and (c) neither the claim asserted nor the relief

requested requires the participation of individual members in the lawsuit”). The CLA

claims its members “would have standing to challenge the defendants’ [PLAs] if they

sued as individuals, because the PLAs prohibit the members of CLA from working on the

defendants’ public-works projects unless they renounce their membership and join a

Council-affiliated union.” Compl. ¶ 29.

       As explained above, however, that claim simply is not correct. Whether in their

previous version or as amended, none of the Public Entities’ PLAs has ever required

employees to join the signatory unions or to “renounce their membership in the CLA.”

Instead, under the previous versions of the Duluth and Cloquet PLAs, the most the unions

could have required of CLA members was payment of some amount of fees. Marquez,

525 U.S. at 46. And even that requirement has been removed from the current form

agreements. Because none of the Public Entities’ PLAs has ever required any employee

                                             14
        CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 24 of 46




to “renounce their membership and join a Council-affiliated union” as a condition of

working on a covered project, the CLA is not seeking to protect a right for which its

members would otherwise have “standing to sue in their own right.” Hunt, 432 U.S. at

343; see also Vorchheimer v. Philadelphia Owners Ass’n, 903 F.3d 100, 111 (3d Cir.

2018) (when exhibits attached to a complaint contradict the complaint’s allegations, “the

exhibits control”). The CLA has accordingly failed to establish that it has standing to

pursue this litigation.

               c.     Contractor Plaintiffs Lack Standing.

       To support their claims that Defendants are violating the antitrust laws, 5 the

Contractor Plaintiffs allege that because their employees have “decline[d] membership in

a Council-affiliated union,” they are each “ineligible to work on any public-works project

subject to the defendants’ PLAs,” unless the Contractor Plaintiffs recognize a Council-

affiliated union as their employees’ exclusive bargaining representatives while working

on a covered project and hire their employees through the unions’ referral systems.

Compl. ¶ 32. And they allege the PLAs have prevented them from obtaining past work,

but they are “able and ready” and likely to bid on Defendants’ public works projects “in

the reasonably foreseeable future.” Id. ¶¶ 33, 34. These allegations are insufficiently

concrete and particularized to support their claim for damages and are too conjectural and

hypothetical to support their claim for declaratory or injunctive relief.



5
  The Complaint contains no allegations that the PLA violates the Contractor Plaintiffs’
constitutional rights. See Compl., Claim No. 1, ¶¶ 37-41 (detailing employees’
constitutional rights).
                                             15
        CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 25 of 46




       The inadequacy of the Plaintiff Contractors’ allegations is laid bare by comparing

them to Northeastern Florida Chapter, AGC v. City of Jacksonville, 508 U.S. 656 (1993),

in which the Supreme Court addressed similar claims that a government policy precluded

construction contractors from bidding on public works contracts. Critical to the Court’s

conclusion that the contractor association had alleged sufficiently concrete harm was the

allegation “that its members regularly bid on contracts in Jacksonville and that they

would have bid on contracts set aside pursuant to the city’s ordinance were they able to

do so.” Id. at 668. The Court specifically distinguished its earlier decision in Warth v.

Seldin, in which “the construction association . . . did not allege that ‘any member ha[d]

applied . . . for a building permit or a variance with respect to a current project.’ Thus,

unlike the association in Warth, [the City of Jacksonville] petitioner has alleged an ‘injury

. . . of sufficient immediacy . . . to warrant judicial intervention.’” Id. (quoting Warth, 422

U.S. at 516).

       The Complaint in this case contains no allegations that any Contractor Plaintiffs

perform work in Duluth, Cloquet or Two Harbors, or for the Sanitary District. Instead,

the Contractor Plaintiffs simply assert that that they are contractors with principal places

of business in Duluth (Kaski, Compl. ¶ 4), Carlton, Minnesota (Roen Salvage Co., id. ¶

5), and Sturgeon Bay, Wisconsin (Roen Salvage Co., id. ¶ 6). The Complaint contains no

allegations that Duluth, Cloquet, Two Harbors or the Sanitary District has used a PLA on

any particular projects, much less projects on which any of the Contractor Plaintiffs bid

or would have bid; no allegations that Duluth, Cloquet, Two Harbors or the Sanitary

District is imminently planning to use a PLA on any project; or, even if any of the Public

                                              16
        CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 26 of 46




Entities were imminently planning to do so, the covered project would be one on which

any of the Contractor Plaintiffs would be qualified to bid. Instead, the Contractor

Plaintiffs have done nothing more than allege that each of Public Entities maintains a

policy to which the Contractors and their employees object. And as noted, a complaint

that challenges a policy or plan, “devoid of any reference to the particularities of any

proposed site-specific action” implementing that policy, fails to establish injury in fact.

Sierra Club v. Robertson, 28 F.3d at 759.

       City of Jacksonville illustrates another reason the Contractor Plaintiffs’ allegations

fail to establish standing: Plaintiffs have identified no conduct by Defendants that limits

their ability to bid for work. The minority set-aside requirements the plaintiff association

challenged in City of Jacksonville made a certain percentage of city contracts unavailable

to the association’s members. 508 U.S. at 659. The plaintiff was therefore challenging

“a discriminatory policy that prevent[ed its members] from” bidding on contracts on the

same basis as their competitors, and in so doing, was claiming an injury “fairly traceable”

to the defendant city. Id. at 666. See also, Gratz v. Bollinger, 539 U.S. 224, 262 (2003)

(white university applicant challenged university’s affirmative action program for making

a certain number of positions unavailable to him and other non-minority students);

Adarand Constructors v. Pena, 515 U.S. 200 (1995) (subcontractor challenged race-

based program for allocating contracts, which rendered him ineligible to compete for a

portion of the state’s contracts); Quinn v. Millsap, 491 U.S. 95 (1989) (non-property

owners challenged property ownership requirement for membership on government

board). In each of these cases, the plaintiff established “injury in fact,” “fairly traceable”

                                              17
        CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 27 of 46




to the defendants, by pointing to a barrier the defendant erected that denied the plaintiff

the opportunity to be considered or to compete for a particular benefit, whether an official

office, a place in a university or a public contract. City of Jacksonville, 508 U.S. at 667

(comparing Warth, in which “there was no claim that the construction association’s

members could not apply for variances and building permits on the same basis as other

firms.”)

       The Contractor Plaintiffs here point to nothing in any of the PLAs that bars them

from bidding for work or competing for any of the Public Entities’ public works projects.

To the contrary, each PLA clearly states that “any qualified bidder” can be awarded a

contract on a covered project, “without reference to the existence or non-existence of any

agreements between such bidder and any party to this Agreement; provided . . . that such

bidder is willing, ready and able to become a party to and comply with this Project

Agreement, should it be designated the successful bidder.” See, e.g., Compl. Ex. 1, Art. II

§ 5 (Duluth PLA). The Contractor Plaintiffs dislike these requirements. But they could

secure their employees through the unions’ referral systems; and their employees could

work on the projects without sacrificing their right not to join the signatory unions.

Instead, they choose not to. As the Supreme Court observed in Boston Harbor, when a

public entity chooses to use a PLA on its construction project, “those contractors who do

not normally enter such agreements are faced with a choice. They may alter their usual

mode of operation to secure the business opportunity at hand, or seek business from

purchasers whose perceived needs do not include a [PLA.]” 507 U.S. at 231. Any

alleged injury the Plaintiff Contractors have suffered by not obtaining work under any of

                                             18
        CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 28 of 46




the Public Entities’ PLAs is thus not “fairly traceable” to the PLA, Lujan, 504 U.S. at

560-61, but rather, is the result of their own choices.

       The Contractor Plaintiffs’ assertion that they are “able and ready” to apply for the

Public Entities’ future projects is equally unavailing, as here, too, they have failed to

allege facts showing the requisite “‘concrete’ and ‘imminent’ injury upon which

[Supreme Court] standing precedents insist.” Carney v. Adams, 141 S. Ct. 493, 501

(2020) (plaintiff must show a “concrete” intent to apply for the desired benefit “in the

reasonably imminent future.”) In Carney, the plaintiff – Adams – challenged a Delaware

constitutional requirement that judges on various courts be from the major political

parties. Adams, an independent, claimed the law disqualified him. Although he asserted

he “would apply for any judicial position that I thought I was qualified for,” id. at 500,

the Court found Adams’ “few words of general intent” insufficient to support “injury in

fact,” id. at 502, 501, and that he failed to demonstrate the law “caused him a concrete,

particularized ‘injury in fact’ over and above the abstract generalized grievance suffered

by all citizens of Delaware,” id. at 499. As was the case with Adams, the Contractor

Plaintiffs’ unadorned assertion that they are “likely” and “able and ready” to bid on “the

defendants’ public works projects in the reasonably foreseeable future” (Compl. ¶ 33)

fails to allege “injury that is concrete, particularized, and imminent rather than

conjectural or hypothetical.” Carney, 141 S.Ct. at 499 (internal citations and quotation

marks omitted).

       The Contractor Plaintiffs have accordingly failed to establish Article III standing

to pursue their antitrust claims.

                                              19
        CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 29 of 46




       2.     Plaintiffs’ Claims that the PLAs Require “Membership” or Payment of
              Fees are Moot.

       Alleging the PLAs require employees on covered projects to “join or financially

support a union as a condition of employment,” Plaintiffs seek a declaration that the

PLAs unconstitutionally compel membership and an injunction against their enforcement.

Compl. ¶¶ 38, 41. None of the Public Entities’ PLAs currently contains any such

requirements and all make explicit that “[n]othing in [their] Agreement requires

employees to join a union or pay dues or fees to a union as a condition of working on the

covered project.” Even assuming any of these agreements could ever have been fairly

read to compel membership, those claims, as well as any claims regarding compelled

payments, are now moot.

       The Eighth Circuit “will dismiss a case as moot when ‘changed circumstances

[have] already provide[d] the requested relief and eliminate[d] the need for court

action.’” Libertarian Party of Ark. v. Martin, 876 F.3d 948, 951 (8th Cir. 2017) (quoting

Teague v. Cooper, 720 F.3d 973, 976 (8th Cir. 2013)). While a defendant’s voluntary

cessation of a challenged practice may not, under certain circumstances, “‘deprive a

federal court of its power to determine the legality of a practice,’ . . . ‘statutory changes

that discontinue a challenged practice are usually enough to render a case moot, even if

the legislature possesses the power to reenact the statute after the lawsuit is dismissed.’”

Id. (quoting Teague, 720 F.3d at 977); see also Phelps-Roper v. City of Manchester, 697

F.3d 678, 687 (8th Cir. 2012) (en banc). Exceptions to mootness “are rare and typically

involve situations where it is virtually certain that the repealed law will be reenacted.”


                                              20
       CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 30 of 46




Teague, 720 F.3d 977 (internal quotations and citations omitted); see also Prowse v.

Payne, 984 F.3d 700, 703 (8th Cir. 2021), citing Troiano v. Supervisor of Elections in

Palm Beach Cnty., Fla., 382 F.3d 1276 , 1283 (11th Cir. 2004) (“[w]hen government

laws or policies have been challenged, the Supreme Court has held almost uniformly that

cessation of the challenged behavior moots the suit.”).

       In this case, the City Councils of Duluth, Cloquet and Two Harbors – the

governing entities with authority over public procurement – passed resolutions amending

their form PLAs to make clear their agreements could not be construed to require anyone

employed on a covered site to join or pay fees to a union as a condition of employment.

Having done so, the City Councils have provided Plaintiffs with their “requested relief

and eliminate[d] the need for court action.” Libertarian Party of Ark., 876 F.3d at 951.

       There is no reason to believe any of the City Councils will reinsert union security

requirements into their PLAs. The Building Trades is the party to the PLAs whose

affiliates would benefit if employees were required to join or financially support the

unions. Yet the Building Trades wrote to each of the Councils to express the Trades’

support for amendments making clear that “union membership or support is not required

for an employee of a non-signatory contractor to work on” a covered project. Olson

Decl. ¶ 6. Moreover, each of the City Councils voted unanimously to adopt the

resolutions amending the PLAs. Helmer Decl. ¶ 4; Peterson Decl. ¶ 4; Walker Decl. ¶ 4.

See Libertarian Party of Ark., 876 F.3d at 951 (no indication General Assembly intends

to reenact the challenged requirement, where the House unanimously amended the

challenged law.). Because it is not “virtually certain” that the Public Entities would

                                             21
        CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 31 of 46




reverse the changes in the PLAs to reinsert union-security provisions, Teague, 720 F.3d

at 977, the voluntary-cessation exception to mootness does not apply.

       Finally, this is not a situation in which the challenged action is “capable of

repetition yet evad[ing] review.” McCarthy v. Ozark Sch. Dist., 359 F.3d 1029, 1035

(8th Cir. 2004) (actions seeking declaratory or injunctive relief for a repealed version of a

law are moot unless the problems are “capable of repetition yet evad[ing] review.”) In

Phelps-Roper, the Court found the plaintiffs “capable of challenging any further change”

to the contested ordinance because they had filed a least seven other lawsuits challenging

similar laws. 697 F.3d at 687. Likewise here, counsel for Plaintiffs have filed nearly

identical complaints in at least four other cases. 6 In the unlikely event any of the Cities

were to reenact provisions they recently excised from their PLAs, there is little question

that Plaintiffs, or others standing in their shoes, would be able and ready to challenge

those actions.

       In sum, Plaintiffs’ claims based on contractual requirements that employees join or

financially support the unions are moot because the allegedly “unconstitutional burden”

Plaintiffs claim here is “neither capable of repetition yet evading review, nor one that can

be reasonably expected to recur after the defendant[s] voluntarily ceased imposing it.”

Moore v. Thurston, 928 F.3d 753, 757 (8th Cir. 2019).



6
  See Ass’d Builders & Contractors of Western Pa. v. Plum Borough, Docket No. 2:20-
cv-01933 (W.D. Pa.); Ass’d Builders & Contractors of Western Pa. v. Community
College of Allegheny Co., Docket No. 2:20-cv-649 (W.D. Pa.); Ass’d Builders &
Contractors of Western Pa. v. County of Westmoreland, Docket No. 2:19-cv-1213 (W.D.
Pa.); Road-Con v. City of Philadelphia, Docket No. 2:19-cv-1667 (E.D. Pa.).
                                              22
       CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 32 of 46




       Judges in this district have recently dismissed requests for injunctive and

declaratory relief as moot after Janus when defendants “ceased deducting” fees from

nonconsenting employees’ paychecks and “averred that [p]laintiffs will not be required to

pay union fees unless they voluntarily rejoin their unions.” Hoekman v. Educ. Minn., No.

18-cv-01686, 2021 WL 533683, at *10 (D. Minn. Feb. 12, 2021) (Nelson, J.); see also

Loescher v. Minn. Teamsters Pub. & L. Enf't Employees' Union, Loc. No. 320, 441 F.

Supp. 3d 762, 771-72 (D. Minn. 2020) (Wright, J.) (dismissing damages claims in union-

dues case as moot because the union “already provided” what plaintiff requested and

plaintiff did not otherwise “allege any injury for this Court to redress”). Because there is

similarly nothing left to enjoin or declare unlawful in this case, this Court should dismiss

Plaintiffs’ constitutional claims as moot.

B.     The Complaint Must be Dismissed under Rule 12(b)(6) for Failure to State
       any Claims for Which Relief can be Granted.

       1.     Plaintiffs have Failed to State a Claim for Violation of the Employees’
              First and Fourteenth Amendment Rights.

       Plaintiffs claim that the PLAs violate the Plaintiff Employees’ constitutional rights

not to “join or associate with a union.” Compl. ¶¶ 37–41. Insofar as this claim rests on

Plaintiffs’ contention that the PLAs require employees working on a covered project to

join a union, that claim misconstrues the documents Plaintiffs attached to their Complaint

(see supra at 10-11), and insofar as it rests on their claim some of the PLAs require

employees to pay union dues, that claim is moot (see supra at 20-23). To the extent the

Employee Plaintiffs are instead complaining that the PLAs require them to secure work

through the unions’ referral systems and recognize the unions as their exclusive collective

                                             23
       CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 33 of 46




bargaining representatives while working on a covered project (Compl. ¶¶ 32, 35), those

claims are foreclosed by well-established legal principles.

       The signatory unions operate their referral systems on covered projects by virtue

of their status as the employees’ exclusive bargaining representative and under authority

granted by the PLAs. See e.g., Compl. Ex 1 (Duluth PLA), Art. III § 1, Art. IV;

Breininger v. Sheet Metal Workers Local 6, 493 U.S. 67, 87-88 (1987) (a union refers

workers for employment through a hiring hall because of its status as the “bargaining

representative and by virtue of the power granted to it by the collective-bargaining

agreement”); see also 29 U.S.C. § 8(f) (explicitly authorizing agreements in the

construction industry that “require[] the employer to notify [the union] of opportunities

for employment . . . or give[ the union] an opportunity to refer qualified applicants for

such employment . . . .”). In Minnesota State Bd. for Community Colleges v. Knight, 465

U.S. 271 (1984), the plaintiffs, a group of home healthcare workers, similarly argued that

the state’s recognition of a union as their exclusive bargaining representative violated

their constitutionally protected association rights. As the Eighth Circuit explained, the

Supreme Court in Knight “summarily affirmed the constitutionality of exclusive

representation for subjects of mandatory bargaining” and “ruled that the exclusive

representation did not impinge on the right of association.” Bierman, 900 F.3d at 575,

citing Knight, 465 U.S. at 279, 288-89. The Supreme Court recently reaffirmed this

principle in Janus, writing that although the First Amendment precludes public

employers from compelling their employees to pay agency fees, a state may otherwise



                                             24
        CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 34 of 46




“keep their labor-relations systems exactly as they are,” including “by requir[ing] that a

union serve as exclusive bargaining agent for its employees.” 138 S. Ct. at 2485 n.27.

       Accordingly, the Employee Plaintiffs have failed to state a claim that the PLAs

violate any of their rights under the First or Fourteenth Amendments, and Claim No. 1

must be dismissed.

       2.       Plaintiffs Have Failed to State a Claim for Violation of the Antitrust
                Laws.

       Plaintiffs claim the PLAs violate the Sherman Act, which prohibits contracts in

restraint of trade and monopolization of commerce. 15 U.S.C. §§ 1, 2. But the antitrust

claim is fatally defective in several respects. First, the Complaint – which merely alleges

that the PLAs include terms that Plaintiffs consider onerous or undesirable and does not

allege a restriction on competition in any identifiable market – does not state a violation

of the Sherman Act. Second, even if Plaintiffs had Article III standing (which they do

not), they do not allege the type of injury required to confer antitrust standing. And third,

the PLAs are exempt from antitrust scrutiny under the nonstatutory labor exemption

applicable to lawful collective bargaining agreements that are consistent with federal

labor policy.

                a.    The Complaint does not State a Violation of the Sherman Act.

       The allegations on which Plaintiffs base their antitrust claim are remarkably brief.

The Complaint alleges the Defendants violated the Sherman Act by entering into the

PLAs because they exclude contractors and individual laborers unwilling to agree to the

PLAs’ provisions on union recognition, job-referral, and union security. Compl. ¶¶ 45-


                                             25
       CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 35 of 46




46. That does not state a violation of the Sherman Act for two reasons: (1) It does not

allege an injury to competition, as opposed to an injury to individual competitors and

noncompetitors; and (2) it does not identify the relevant market within which competition

was allegedly affected.

       The claim that Plaintiffs were excluded because they were unwilling to agree to

Defendants’ terms does not state a violation of the Sherman Act. The Supreme Court and

the Eighth Circuit have frequently emphasized that “[t]he antitrust laws exist for ‘the

protection of competition not competitors.” Razorback Ready Mix Concrete Co. v.

Weaver, 761 F.2d 484, 488 (8th Cir. 1985) (emphasis in original) (quoting Brunswick

Corp. v. Pueblo Bowl-O-Mat, 429 U.S. 477, 488 (1977)). A private party alleging a

violation of the antitrust laws must “plead . . . injury to competition.” Razorback Ready

Mix, 761 F.2d at 488; see Ehredt Underground, Inc. v. Commonwealth Edison Co., 90

F.3d 238, 240 (7th Cir. 1996) (“Over and over, we stress that antitrust is designed to

protect consumers from producers, not to protect producers from each other or to ensure

that one firm gets more of the business.”). In Razorback Ready Mix, for example, the

Eighth Circuit held that the district court should have dismissed the antitrust claim

because “Razorback failed to allege . . . any adverse effect on competition.” 761 F.2d at

488.

       Plaintiffs do not allege any adverse effect on competition. Their complaint is that

they view the terms of the PLAs as unfair and that the effect of those terms is to

disqualify those who find them objectionable. But the “unfairness” of those terms does

not constitute a Sherman Act violation. As the Supreme Court has stated, “the federal

                                             26
        CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 36 of 46




antitrust laws . . . do not create a federal law of unfair competition.” Brooke Grp. Ltd. v.

Brown & Williamson Tobacco Corp., 509 U.S. 209, 225 (1993). Congress did not enact

those laws to protect the “welfare of a particular competitor who may be hurt as the result

of some trade practice.” Roland Mach. Co. v. Dresser Indus., Inc., 749 F.2d 380, 394

(7th Cir. 1984). Plaintiffs may object to the terms of the PLAs, but their unwillingness to

meet those terms does not state a violation of federal antitrust laws.

       Nor does the allegation that the effect of those terms is to disqualify those

unwilling to work under them somehow convert Plaintiffs’ complaint about their

unfairness into a Sherman Act violation. A competitor does not state a violation of the

antitrust laws merely by alleging that it has been unfairly denied work or excluded as a

competitor by a party’s insistence on onerous terms. Double D Spotting Serv. v.

Supervalu, Inc., 136 F.3d 554, 561 (8th Cir. 1998) (“Disappointment at not receiving one

unloading contract at one particular warehouse is insufficient as a matter of law to rise to

the level of an antitrust violation within a relevant market.”). Bathke v. Casey’s Gen.

Stores, Inc., 64 F.3d 340, 344 (8th Cir. 1995) (“Inflicting painful losses on competitors ‘is

of no moment to the antitrust laws if competition is not injured.’”) (quoting Brown Shoe

Co. v. United States, 370 U.S. 294, 320 (1962)). That Plaintiffs were unwilling to work

under the terms of the PLAs does not in any way show that Defendants violated federal

antitrust laws by entering into those agreements. Again, as the Supreme Court observed

in Boston Harbor, contractors that do not usually enter PLAs have a choice—alter their

usual practices to secure the business or seek business elsewhere. 507 U.S. at 231.

       Even if they had alleged the requisite effect on competition, Plaintiffs’ antitrust

                                             27
        CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 37 of 46




claim would still fail, because the Complaint does not describe the relevant market within

which competition was allegedly affected. To avoid dismissal, a plaintiff alleging

violations of either Section 1 or Section 2 of the Sherman Act must allege a valid,

relevant market within which competition was restrained or commerce monopolized.

Double D Spotting, 136 F.3d at 560 (“[T]o state a Sherman Act claim under either section

1 or section 2, the plaintiff must identify a valid relevant market.”); accord, Little Rock

Cardiology Clinic Pa. v. Baptist Health, 591 F.3d 591, 596 (8th Cir. 2009) (at the

pleading stage, the plaintiff “has the burden of alleging a relevant market in order to state

a plausible antitrust claim”); Razorback Ready Mix, 761 F.2d at 488. As the Eighth

Circuit has explained, the market allegation is critical, because “[w]ithout a well-defined

relevant market, a court cannot determine the effect that an allegedly illegal act has on

competition.” Little Rock Cardiology, 591 F.3d at 596. Because the Complaint does not

even attempt to allege a valid relevant market, the antitrust claim must be dismissed. 7

              b.      Plaintiffs do not Have Antitrust Standing.

       Section 4 of the Clayton Act provides that “[a]ny person who shall be injured in

his business or property by reason of anything forbidden in the antitrust laws may sue

therefore . . . and shall recover threefold the damages by him sustained.” 15 U.S.C. §

15(a). But as the Supreme Court stated in Associated General Contractors of California,


7
  Plaintiffs may try to avoid dismissal by arguing that they might attempt to characterize
the PLAs as per se violations, which do not require an alleged market. Double D
Spotting, supra. But the Complaint does not allege a per se violation, and as the Supreme
Court observed in Associated Gen. Contractors of Cal. v. Carpenters, 459 U.S. 519, 526
(1983), “[i]t is not . . . proper to assume that . . . the defendants have violated the antitrust
laws in ways that have not been alleged.”
                                               28
        CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 38 of 46




“Congress did not intend to allow every person tangentially affected by an antitrust

violation to maintain an action to recover threefold damages.” 459 U.S. at 535, quoting

Blue Shield of Va. v. McCready, 457 U.S. 465, 476-77 (1982).

       To establish standing and avoid dismissal, a private antitrust plaintiff must allege

that it has suffered an “antitrust injury.” Insulate SB, Inc. v. Advanced Finishing Sys.,

Inc., 797 F.3d 538, 542 (8th Cir. 2015); see NicSand, Inc. v. 3M Co., 507 F.3d 442, 450

(6th Cir. 2007) (“antitrust standing is a threshold, pleading-stage inquiry”) (cited in

Insulate SB, 797 F.3d at 542). An “antitrust injury” is an “injury of the type the antitrust

laws were intended to prevent . . . that flows from that which makes the defendants’ acts

unlawful.” Brunswick Corp., 429 U.S. at 489; Peterson v. Gen. Motors Corp., 975 F.2d

518, 520 (8th Cir. 1992). Accordingly, in each case, a plaintiff’s “alleged injury must be

analyzed to determine whether it is of the type that the antitrust statute was intended to

forestall.” Associated Gen. Contractors of Cal., 459 U.S. at 540. 8

                      1)     Individual Employee Plaintiffs Lack Antitrust Standing.

       Each of the Employee Plaintiffs avers he is employed by one of the Contractor

Plaintiffs. Compl. ¶¶ 7, 9. The Complaint alleges that each of these individuals was

injured by the PLAs’ requirement that contractors working on covered projects comply

with the PLA’s union security and job referral provisions. Compl. ¶ 35.



8
  In Associated General Contractors of California, the Supreme Court explained that
“antitrust standing” is “somewhat different” from Article III standing. “Harm to the
antitrust plaintiff is sufficient to satisfy the constitutional standing requirement of injury
in fact, but the court must make a further determination whether the plaintiff is a proper
party to bring a private antitrust action.” 459 U.S. at 536 n.31.
                                              29
       CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 39 of 46




       Antitrust standing “is generally limited to actual market participants, that is,

competitors or consumers.” S.D. Collectibles, Inc. v. Plough, Inc., 952 F.2d 211, 213

(8th Cir. 1991). The individual Employee Plaintiffs in this case are neither. “A mere

causal connection” between the alleged antitrust violation and the alleged harm is

insufficient. Peterson, 975 F.2d at 520. Thus, as the Eighth Circuit has observed,

derivative injuries suffered by employees whose employer may have suffered an antitrust

injury does not confer antitrust standing on those employees, and courts “routinely”

dismiss claims based on such injuries. Id. at 521. In this case, the fact that the Employee

Plaintiffs are employed by contractors that would be required to comply with the PLAs,

were they to perform work covered by those agreements, is not sufficient to confer

standing on those employees.

       Moreover, their claim that the PLAs would require compliance with the union

security and job referral provisions is insufficient as a matter of law. The harm suffered

by an antitrust plaintiff must be “a loss that Congress intended to prevent with the

antitrust laws.” Id. at 520. Congress did not enact the antitrust laws to protect employees

from union security or job referral provisions. NLRA Section 8(f) explicitly makes

lawful both union security and job referral provisions, like those in the PLAs, in the

construction industry. See 29 U.S.C. §§ 158(f)(2), (3). Although the point seems

obvious, Congress did not enact the antitrust laws to protect employees from the type of

contractual provisions that Congress, in Section 8(f) of the NLRA, explicitly made

lawful. The Employee Plaintiffs therefore lack antitrust standing.



                                             30
        CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 40 of 46




                     2)     CLA Lacks Antitrust Standing.

       The CLA claims that it has “associational standing,” which it acknowledges

requires it to show that its members would otherwise have standing to sue in their own

right. Compl. ¶¶ 27, 28. The Complaint alleges CLA members would have standing

because the PLAs require them to comply with the PLAs’ union security provisions.

Compl. ¶ 29. As explained, mandatory compliance with a union security clause does not

confer antitrust standing. Thus, setting aside the fact that any claims based on union

security provisions are moot, the CLA lacks associational standing because CLA’s

members lack antitrust standing.

       The Complaint also alleges that the CLA “seeks to maximize work opportunities

for its members and the contractors that employ them.” Compl. ¶ 30. In Associated

General Contractors of California, the Supreme Court observed that “the [plaintiff]

union was neither a consumer nor competitor in the market in which trade was [allegedly]

restrained” and consequently, “a union, in its capacity as bargaining representative, will

frequently not be a part of the class the Sherman Act was designed to protect.” 459 U.S.

at 539-40. In that case, the Court held that the union plaintiff did not have antitrust

standing because “the Union’s labor-market interests seem to predominate.” Id. at 540.

       The same can be said for the CLA in this case. The CLA is neither a consumer

nor competitor in the market for construction work. And its alleged interest in

maximizing work opportunities for CLA members reflects a concern about the labor

market and not an interest in competition among construction contractors. Because the

CLA is not among those that the antitrust laws were enacted to protect, the CLA lacks

                                             31
        CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 41 of 46




antitrust standing. 9

                        3)   Contractor Plaintiffs Lack Antitrust Standing.

       The Complaint alleges that the Contractor Plaintiffs have standing because they

would be ineligible to work under the PLAs unless they complied with the PLAs’ terms,

including those on union recognition and job referral. Compl. ¶ 32.

       As explained above, supra at 26, the Contractors’ complaint is that they view the

PLAs’ terms as unfair. They do not allege that competition in an identifiable market has

been restrained to the detriment of consumers or providers of construction services. If

the Complaint does not allege an antitrust injury (and it does not), then Plaintiffs have not

alleged that anyone, including the Contractor Plaintiffs named in the Complaint, has

antitrust standing.

       In Ehredt Underground, Inc., the plaintiff alleged that a union and a consumer of

construction services violated the Sherman Act, inter alia, by insisting that any

contractors employ union members, and by assigning jurisdiction over that work to a

local union with a higher wage scale, which caused the plaintiff contractor economic

harm. But that harm, which did not arise from any restriction on competition, did not

satisfy the requirement of antitrust standing. As the court observed, “[I]t is hard to see

how [plaintiff] suffered antitrust injury.” 90 F.3d at 240.

       As Ehredt and other cases show, see supra at 26-28, the loss of business or


9
  In Associated General Contractors, the Court also relied on “the tenuous and
speculative character of the relationship between the alleged antitrust violation and the
Union’s alleged injury,” id. at 545, a description that also applies to any damages
purportedly suffered by the CLA itself.
                                             32
        CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 42 of 46




customers does not in and of itself confer antitrust standing. The injury must arise from a

restriction on competition. Because any economic loss allegedly suffered by the

Contractor Plaintiffs arose from their objections to working under the terms of the PLAs

and not from any limitations or restrictions Defendants placed on competition, the

Contractor Plaintiffs lack antitrust standing.

              c.       The PLAs are Shielded from Antitrust Scrutiny by the
                       Nonstatutory Labor Exemption.

       In enacting the NLRA, Congress declared that “the policy of the United States [is]

to eliminate the causes of certain substantial obstructions to the free flow of commerce . .

. by encouraging the practice and procedure of collective bargaining.” 29 U.S.C. § 151.

That law thus reflected what the Supreme Court has described as “the strong labor policy

favoring the association of employees to eliminate competition over wages and working

conditions.” Connell Constr. Co. v. Plumbers & Steamfitters Local 100, 421 U.S. 616,

622 (1975). The Court also recognized that although eliminating competition over wages

would “affect price competition among employers, . . . the goals of federal labor laws

never could be achieved if this effect on business competition were held a violation of the

antitrust laws.” Id.

       To prevent litigants and courts from frustrating the strong federal policy of

promoting collective bargaining and eliminating wage competition, the Supreme Court

“implied” the “nonstatutory” labor exemption. Brown v. Pro Football Inc., 518 U.S. 231,

235-36 (1996). That exemption “limit[s] an antitrust court’s authority to determine, in

the area of industrial conflict, what is or is not a ‘reasonable’ practice.” Id. at 236-37.


                                              33
       CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 43 of 46




       In determining whether the nonstatutory exemption applies, the fundamental

question is whether the conduct challenged “grew out of, and was directly related to, the

lawful operation of the bargaining process.” Id. at 250. 10 In Meat Cutters Local 576 v.

Wetterau Foods, Inc., 597 F.2d 133 (8th Cir. 1979), for example, a union challenged an

agreement in which one company agreed to provide strike replacements to another

company after the union called an economic strike. The union characterized that

agreement as a combination in restraint of trade. The Eighth Circuit, however, concluded

that the nonstatutory exemption shielded the employer’s conduct because any injury to

the union “would flow naturally from the replacement of striking workers, which conduct

federal labor policy sanctions.” Id. at 136.

       There can be little question that the PLAs at issue in this case resulted from “the

lawful operation of the bargaining process.” As the Ehredt Underground court

explained, “A buyer of construction services may insist that its contractors have labor

agreements with an identified union, to reduce the potential for labor unrest. Indeed, the

project’s owner or general contractor may insist that the subcontractors accede to a

particular collective bargaining agreement that provides for wages higher than the

subcontractor otherwise would pay.” 90 F.3d at 240.

       In support of that statement, the Ehredt court cited the Supreme Court’s decision

in Boston Harbor. In that case, the Massachusetts Water Resources Authority required



10
  The Brown Court also relied on the facts that the challenged employer conduct
“involved a matter that the parties were required to negotiate collectively” and
“concerned only the parties to the collective bargaining relationship.” Id.
                                               34
       CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 44 of 46




all bidders on a project to adopt a PLA that included mandatory provisions on union

recognition, job referral, and union security. 507 U.S. at 221-22. The Boston Harbor

plaintiffs argued that the NLRA preempted enforcement of that requirement, but the

Court disagreed.

       In reaching that conclusion, the Court observed that the project labor agreements –

“[p]rehire agreements . . . providing for union recognition, compulsory union dues or

equivalents, and mandatory use of union hiring halls,” id. at 230 – “promote[d] the

legislative goals that animated the passage of” those parts of the NLRA applicable to the

construction industry. Id. And the Court specifically stated that, since the defining

characteristics of the construction industry do not depend on the private or public nature

of the entity purchasing contracting services, a public entity, acting as purchaser, should

have the same option “to participate freely in the marketplace” by entering into such

agreements. Id. at 230-31.

       Boston Harbor teaches that PLAs mandated by public entities effectuate the

policies underlying the NLRA. See Ehredt, 90 F.3d at 241 (“Boston Harbor shows that

the labor laws permit an owner to insist that multiple contractors adhere to a single

representational system and wage rate for a construction project.”); see also Johnson v.

Rancho Santiago Cmty. Coll. Dist., 623 F.3d 1011 (9th Cir. 2010) (public college PLA

consistent with federal labor policy); Bldg. Indus. Elec. Contractors Ass’n v. City of New

York, 678 F.3d 184 (2nd Cir. 2012) (city PLA consistent with federal labor policy).

       As lawful agreements resulting from a lawful bargaining process, such agreements



                                             35
       CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 45 of 46




are shielded from antitrust scrutiny by the nonstatutory exemption. 11 That conclusion is

confirmed by decisions of other courts applying the nonstatutory exemption to similar

PLAs. Associated Builders v. City of Seward, 966 F.2d 492, 498-99 (9th Cir. 1992);

Ehredt, 90 F.3d at 240-41. Because the PLAs in this case are shielded from antitrust

scrutiny by the nonstatutory exemption, the antitrust claim must be dismissed.




11
   In Connell Construction, the Court refused to apply the nonstatutory exemption to a
subcontracting agreement that the Court concluded violated NLRA Section 8(e). 421
U.S. at 625-26. Compare Brown, supra, stating that the exemption applies to conduct
“unobjectionable as a matter of labor law and policy.” 518 U.S. at 238. Accordingly, the
critical distinction between this case and Connell is that the agreement challenged in
Connell was deemed inconsistent with federal labor policy and the agreements
challenged here, as Boston Harbor shows, are consistent with that policy.
                                            36
       CASE 0:21-cv-00227-DWF-LIB Doc. 26 Filed 04/19/21 Page 46 of 46




                                    CONCLUSION

       The Complaint should be dismissed under Rule 12(b)(1) for lack of subject matter

jurisdiction and Rule 12(b)(6) for failure to state any claims upon which relief may be

granted.

                                 Respectfully submitted,



REBECCA ST. GEORGE, CITY                         ANDREW, BRANSKY AND POOLE,
ATTORNEY, and                                    P.A.
 s/ Elizabeth A. Sellers                           s/ Timothy W. Andrew
Elizabeth A. Sellers (0395652)                   Timothy W. Andrew (227250)
Assistant City Attorney                          302 West Superior Street, Suite 300
411 West First Street, Rm. 440                   Duluth MN, 55802
Duluth, MN 55802                                 (218) 722-1764
(218) 730-5281                                   timandrew@duluthlawfirm.com
esellers@duluthmn.gov
                                                 SHERMAN DUNN, P.C.
Attorneys for Defendant City of Duluth            s/ Victoria L. Bor
                                                 Victoria L. Bor (D.C. #288852)
GREENE ESPEL PLLP                                Jonathan D. Newman (D.C. #449141)
 s/Monte A. Mills                                Robert D. Kurnick (D.C. #243683)
Monte A. Mills (030458X)                         900 Seventh Street, N.W. Suite 1000
Davida S. McGhee (0400175)                       Washington, D.C. 20001
222 S. Ninth Street, Suite 220                   (202)785-9300
Minneapolis MN 55402                             bor@shermandunn.com
(612) 373-0830                                   newman@shermandunn.com
mmills@greeneespel.com                           kurnick@shermandunn.com
dwilliams@greeneespel.com
                                                 Attorneys for Defendant Duluth Building
Attorneys for Defendants City of                 & Construction Trades Council
Cloquet, City of Two Harbors,
Western Lake Superior Sanitary District




                                            37
